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 7                        IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     United States of America,                                 CR-18-422-PHX-SMB
10
                           Plaintiff,
11                                                                     ORDER
              v.
12
13   Michael Lacey, et al.,
14                         Defendants.
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16          Based on the United States’ Unopposed Motion to Extend Deadline for Responses,
17   and Defendants’ Replies, to Defendants’ Substantive Motions, and good cause appearing,
18          IT IS HEREBY ORDERED granting the United States’ motion and extending
19   the deadline for it to file responses to Defendants’ substantive motions (docs. 775, 777,
20   778, 781, 782, 783, 784, 785, and 786) to November 22, 2019.
21          IT IS FURTHER ORDERED extending the deadline for Defendants to file their
22   replies in support of the same motions to December 16, 2019.
23          IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h) is
24   found to commence from ___________________ through _____________________.
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